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                                       9                       IN THE UNITED STATES DISTRICT COURT
                                      10                             FOR THE DISTRICT OF ARIZONA
                                      11
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                                      12   Ronald H. Pratte,                             Case No. 2:19-cv-00239-PHX-GMS
     Scottsdale, Arizona 85251
     Kercsmar & Feltus PLLC




                                      13                        Plaintiff,               JOINT MOTION TO MODIFY CASE
                                                                                         MANAGEMENT ORDER
           (480) 421-1001




                                      14
                                           vs.                                           (Second Request)
                                      15
                                           Jeffrey Bardwell and Fanny F. Bardwell,
                                      16   husband and wife,
                                      17                        Defendants.
                                      18
                                      19          Plaintiff Ronald H. Pratte and Defendants Jeffrey Bardwell and Fanny F. Bardwell

                                      20   stipulate and jointly move this Court for an order extending the discovery deadlines as

                                      21   follows:

                                      22          1.     Extending the deadline for final supplementation of MIDP responses and

                                      23   the completion of fact discovery, including discovery by subpoena, from January 31,

                                      24   2020 to February 28, 2020.

                                      25          2.     Extending the deadline for Plaintiff to provide full and complete expert

                                      26   disclosures from February 21, 2020 to March 27, 2020.

                                      27          3.     Extending the deadline for Defendants to provide full and complete expert

                                      28   disclosures from March 13, 2020 to April 10, 2020.


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                                       1          4.     Extending the deadline for rebuttal expert disclosures from April 10, 2020

                                       2   to May 8, 2020.

                                       3          5.     Extending the deadline for completing all expert depositions from May 15,

                                       4   2020 to June 19, 2020.

                                       5          6.     Defendants further request the Court extend the dispositive motion deadline

                                       6   to July 17, 2020 to maintain the overall timeline whereby all information can be

                                       7   considered, including expert depositions, if needed.

                                       8          7.     To comport with the Court’s prior Scheduling Order, it is requested the pre-

                                       9   motion conference letter submission and contact date be moved from May 8, 2020 to

                                      10   June 12, 2020. On or before June 12, 2020, the parties shall exchange their respective

                                      11   two-page letters regarding any anticipated dispositive motions, and on June 12, 2020, the
                                           parties shall contact the Court to schedule a time for the pre-motion conference, if
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                                      13   needed.
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                                      14                                GOOD CAUSE STATEMENT

                                      15          To date both parties have diligently investigated and are continuing to develop

                                      16   their respective cases. Moreover, counsel have developed a cooperative relationship

                                      17   geared toward obtaining as much information as possible to resolve this case on-the-

                                      18   merits. Further, although the parties have had numerous discovery disputes, to date, the

                                      19   parties have managed to resolve all such disputes without Court’s intervention.

                                      20          As of the filing of this Joint Motion the parties have taken six fact witness

                                      21   depositions, engaged in extensive written discovery and issued subpoenas to several third

                                      22   parties. Recently, the Plaintiff’s deposition was scheduled along with that of Defendant.

                                      23   Due to medical reasons, however, Plaintiff’s deposition had to be reset to a date not yet

                                      24   determined, but which the parties believe will occur in the first two weeks of February, to

                                      25   be followed by Defendant’s deposition shortly thereafter. In the interests of judicial

                                      26   economy, the Parties have also agreed to meet and confer to determine whether 3-4 other

                                      27   potential fact witnesses will be called at trial, or whether their depositions and testimony

                                      28   may be unnecessary and cumulative; a determination which can only be made after


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                                       1   completing Plaintiff’s and Defendant’s depositions. Accordingly, it is requested that the

                                       2   Court recognize and accept the parties’ agreement that a continuance is necessary and

                                       3   reasonable to promote full development of the case and facts is not requested merely for

                                       4   purposes of delay.

                                       5          The extension or enlargement requested is also reasonable based upon the

                                       6   circumstances. As the Court is aware, the operative event at issue in this matter is

                                       7   whether a transfer of monies and property made over fourteen years ago involved an oral

                                       8   contract whereby Defendant agreed to work for Plaintiff for the rest of Plaintiff’s life, or

                                       9   was a gift to Plaintiff and others receiving the same amounts in simultaneous transfers.

                                      10   Because this dispute involves an oral contract and due to the passage of time, counsel did

                                      11   not foresee all of the logistical issues with which they would be confronted. One such
                                           issue, for example, involved the existence and retrieval of previous attorney and
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                                      13   accountant files. Only in the past few weeks were the Parties able to determine that
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                                      14   complete copies of the files of predecessor law firms no longer exist, in paper or

                                      15   electronic form, and that Plaintiff’s prior accountant is no longer in possession of

                                      16   pertinent work papers or other materials relevant to Plaintiff’s gift tax return filed in

                                      17   relation to the transfers at issue.

                                      18          The parties have also engaged in other recent good faith settlement discussions,

                                      19   which although not successful at this time, may be renewed at a future date as

                                      20   contemplated by the Court in its prior Order. The Parties acknowledge, however, that the

                                      21   schedule will not be continued merely to facilitate settlement discussions.

                                      22          The Parties also anticipate they may require the Court’s assistance in relation to

                                      23   two other depositions. Specifically, the deposition of Defendant’s prior divorce counsel

                                      24   and the deposition of Plaintiff’s prior accountant responsible for preparing the gift tax

                                      25   return. Plaintiff has asserted the accountant-client privilege and Defendant has asserted

                                      26   the attorney-client and work-product privilege. It is possible that such issues will be

                                      27   resolved when those professionals’ depositions are taken, or the parties may require the

                                      28   Court to rule on issues of waiver of any such privilege, with or without briefing.


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                                       1         The Parties are aware this is a second request to continue and believe that, absent

                                       2   full briefing and hearing on any privilege disputes as may be ordered by the Court, the

                                       3   time frames requested would be sufficient to complete the tasks set forth above. A

                                       4   proposed order reflecting the parties’ requested modifications to the Court’s October 8,

                                       5   2019 Modified Case Management Order is attached.

                                       6
                                       7
                                       8
                                                 DATED this 24th day of January, 2020.
                                       9
                                      10                                      KERCSMAR & FELTUS PLLC
                                      11
                                                                          By: s/ Zach Fort
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                                      12                                      Gregory B. Collins
     Scottsdale, Arizona 85251




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                                      14                                      Scottsdale, Arizona 85251
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                                                                   CERTIFICATE OF SERVICE
                                       1
                                                I certify that on January 24, 2020, I electronically transmitted the foregoing to the
                                       2   Clerk’s Office using the CM/ECF System for filing and transmittal of a Notice of
                                       3   Electronic Filing to the following:
                                       4
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                                           s/ Mary Ann Bautista
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